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            Exhibit 9
                 Case 1:15-cv-06119-AJN-JLC Document 376-9 Filed 06/19/17 Page 2 of 3
                                            BPCA000199

Torres, Alexis

From:                          Craig Hudon
Sent:                          Thursday, June 04, 2015 8:16 AM
To:                            Torres, Alexis
Subject:                       Re: Unnerving phone call from Steven Greer
Attachments:                   image001.gif; image002.png


Thanks Alexis.

Sent from my Verizon Wireless 4G LTE DROID


II*
 'Torres, Alexis" <Alexis.Torres@bpca.ny.gov> wrote:

Craig,

I'm so sorry you have to go through this. Unfortunately we all have been victims of this as well. We are all still trying to
figure out how he got our personal cell phone numbers. You do not have to answer any question from him at all. I will
also file this email in the file we created for his harassing calls.

-Alexis

Sent from my iPhone

On Jun 3, 2015, at 4:11 PM, Forst, Robin <Robin.Forst(5)bpca.nv.Eov> wrote:



          From: Craig Fludon
          Sent: Wednesday, June 03, 2015 4:10 PM
          To: Forst, Robin




               ...
          Subject: RE: Unnerving phone call from Steven Greer

          Thanks Robin. It's the personal cell thin g that bothers me. I'm just discovering that he's called 10 times
          today which is creepy.




          From: Forst, Robin
          Sent: Wednesday, June 03, 2015 4:07 PM
          To: Craig Hudon; Torres, Alexis
          Cc: Tessa Huxley
          Subject: RE: Unnerving phone call from Steven Greer

          I am sorry. On the positive side, you are in good company! ! Most people in the know understand that
          he is crazy. Having been the object of his writing and ranting, I know it's not fun. Hang in there and if
          you want to speak, feel free to give me a call.




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                                   BPCA000200

From: Craig Hudon
Sent: Wednesday, June 03, 2015 3:57 PM
To: Forst, Robin; Torres, Alexis
Cc: Tessa Huxley
Subject: RE: Unnerving phone call from Steven Greer

I just received a voicemail from Steven Greer that there is now a story about me on BatteryTV.


From: Forst, Robin
Sent: Wednesday, June 03, 2015 3:41 PM
To: Craig Hudon; Torres, Alexis
Cc: Tessa Huxley
Subject: RE: Unnerving phone call from Steven Greer

I am so sorry. This guy, as you know, is nuts. I've forwarded to Shari.

Robin I. Forst
Vice President, External Relations

Battery Park City Authority
200 Liberty Street, 24th Floor, New York, New York 10281
(212) 417-22761 robin. forst@bpca.nv.qov
www.bpca.nv.aov




<image001.gif>
               *
From: Craig Hudon
Sent: Wednesday, June 03, 2015 3:33 PM
To: Forst, Robin; Torres, Alexis
Cc: Tessa Huxley
Subject: Unnerving phone call from Steven Greer

I just received threatening phone call on my personal cell phone from Steven Greer.

I immediately informed him that all media inquiries had to go through Robin's office. He said he was
calling as a resident. He asked to have an unofficial conversation or meeting. He asked about our
website with program information, which I gave him as I was having trouble ending the conversation. I
then asked if he would go through Robin and not call my personal phone, to which he started screaming
threatening my f'ing job. I hung up. He immediately called back, and keeps calling back, from a blocked
number.

Again, please advise.

Craig




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